                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 1 of 38




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
    In re                                             )                Chapter 15 / Chapter 11
                                                      )
                                                  1
    Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,      )                Case No. 22-10630 (JTD)
                                                      )                Case No. 22-10696 (JTD)
                                                      )
                      Debtor in a Foreign Proceeding. )
                                                      )

          REPLY IN SUPPORT OF (I) VERIFIED PETITION FOR
RECOGNITION OF FOREIGN MAIN PROCEEDING AND (II) MOTION TO DISMISS
             THE INVOLUNTARY CHAPTER 11 PETITION




1
     The last four identifying digits of the tax number and the jurisdiction in which Crédito Real pays taxes is Mexico
     ⸺ 6815. Crédito Real’s corporate headquarters is located at Avenida Insurgentes Sur No. 730, 20th Floor,
     Colonia del Valle Norte, Alcaldía Benito Juárez, 03103, Mexico City, Mexico.




RLF1 27942059v.1
                    Case 22-10630-JTD                     Doc 55           Filed 09/14/22              Page 2 of 38



                                                   TABLE OF CONTENTS
                                                                                                                     Page
PRELIMINARY STATEMENT .....................................................................................................1

ARGUMENT ...................................................................................................................................5

        The Court Should Grant Recognition to the Mexican Liquidation Proceeding .....................5




                     i.         The Mexican Liquidation Proceeding is for the benefit of all
                                creditors....................................................................................................... 9

                     ii.        Notice of the Mexican Liquidation Proceeding complied with
                                applicable Mexican law ............................................................................ 10

                     iii.       All stakeholders have been afforded due process by the Mexican
                                courts ......................................................................................................... 11




        Dismissal of the Chapter 11 Proceeding is Appropriate ......................................................20



                     i.         The Exercise of Jurisdiction Would Impose an Unfair Burden on
                                Crédito Real .............................................................................................. 23

                     ii.        The U.S. Lacks a Strong Interest in Crédito Real’s Restructuring ........... 24

                     iii.       The Involuntary Case Will Not Further Creditors’ Interests in
                                Obtaining Convenient and Effective Relief .............................................. 24

                     iv.        Mexico Does Not Have an Interest in a Conflicting Proceeding in
                                the U.S....................................................................................................... 25




                                                                       i

RLF1 27942059v.1
                    Case 22-10630-JTD                   Doc 55           Filed 09/14/22           Page 3 of 38




                     i.         The Mexican Liquidation Proceeding Offers a More Appropriate
                                Forum to Protect the Interests of the Parties ............................................. 27

                     ii.        The Involuntary Case Would Be Administratively Inefficient ................. 28

                     iii.       The Involuntary Case Lacks a Legitimate Bankruptcy Purpose ............... 29




CONCLUSION ..............................................................................................................................30




                                                                    ii
RLF1 27942059v.1
                     Case 22-10630-JTD                     Doc 55             Filed 09/14/22           Page 4 of 38



                                                  TABLE OF AUTHORITIES
                                                                                                                                       Page(s)
                                                                   CASES

Asahi Metal Indus. Co. v. Superior Court of Cal., Solano Cty., 480 U.S. 102
   (1987) .......................................................................................................................................24

AstroPower Liquidating Trust v. Xantrex Tech., Inc. (In re AstroPower
    Liquidating Trust), 335 B.R. 309 (Bankr. D. Del. 2005).........................................................23

Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195 (3d Cir. 2006) ................................................7

Burtch v. Opus LLC (In re Opus E. LLC.), 698 F. Appx. 711 (3d Cir. 2017) ..............................14

Equity Broad. Corp. v. Shubert (In re Winstar Commc’ns, Inc.), 284 B.R. 40
   (Bankr. D. Del. 2002) ..............................................................................................................22

GMAM Investments Funds Trust I v. Globo Comunicacoes e Participacoes S.A.
  (In re Globo Comunicacoes e Participacoes S.A.), 317 B.R. 235 (S.D.NY.
  2004) ........................................................................................................................................22

In re ABC Learning Ctrs. Ltd., 445 B.R. 318 (Bankr. D. Del. 2010) ......................6, 11, 13, 16, 17

In re ABC Learning Ctrs. Ltd., 728 F.3d 301 (3d Cir. 2013) ....................................2, 5, 10, 14, 18

In re Bd. of Dirs. of Multicanal S.A., 314 B.R 486 (Bankr. S.D.N.Y. 2004) ........................ passim

In re Betcorp Ltd., 400 B.R. 266 (Bankr. D. Nev. 2009)....................................................... passim

In re Cenargo Int’l, PLC, 294 B.R. 571 (Bankr. S.D.N.Y. 2003) .................................................21

In re Compania de Alimentos Fargo, S.A., 376 B.R. 427 (Bankr. S.D.N.Y. 2007) ......................30

In re Condor Flugdienst GmbH, 627 B.R. 366 (Bankr. N.D. Ill. 2021) ........................................11

In re Creative Fin., Ltd., 543 B.R. 498 (Bankr. S.D.N.Y. 2016)...................................................20

In re Energy Coal S.P.A., 582 B.R. 619 (Bankr. D. Del. 2018) ....................................................11

In re ENNIA Caribe Holding N.V., 594 B.R. 631 (Bankr. S.D.N.Y. 2018) ..................................19

In re Garcia Avila, 296 B.R. 95 (Bankr. S.D.N.Y. 2003) .............................................................19

In re Gee, 53 B.R. 891 (Bankr. S.D.N.Y. 1985) ............................................................................21

In re Gold & Honey, Ltd., 410 B.R. 357 (Bankr. E.D.N.Y. 2009) ................................................19

Helicópteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 414-16 (1984) ..............................21

                                                                        iii
RLF1 27942059v.1
                     Case 22-10630-JTD                      Doc 55           Filed 09/14/22             Page 5 of 38




In re Manley Toys Ltd., 580 B.R 632 (Bankr. D.N.J. 2018) .................................................. passim

Maritime Elec. Co. v. United Jersey Bank, 959 F.2d 1194 (3d Cir. 1991) ....................................21

In re MMG LLC, 256 B.R. 544 (Bankr. S.D.N.Y. 2000).................................................................6

Nelson v. Mass. Gen. Hosp., 2007 U.S. Dist. LEXIS 70455, at *90 (S.D.N.Y.
   Sept. 20, 2007) ........................................................................................................................22

In re Netia Holdings S.A., 277 B.R. 571 (Bankr. S.D.N.Y. 2002) ..................................................6

In re OAS, S.A., 533 B.R 83 (Bankr S.D.N.Y. 2015) ..............................................................18, 19

In re Oi S.A., 587 B.R. 253 (Bankr. S.D.N.Y. 2018) .................................................................... 19

In re Petroforte Brasileiro de Petroleo Ltda., 542 B.R. 899 (Bankr. S.D. Fla.
    2015) ........................................................................................................................................18

In re Rede Energia S.A., 515 B.R. 69 (Bankr. S.D.N.Y. 2014) .....................................................19

Samba v. Int’l Petroleum Prods. & Additives Co. (In re Black Gold S.A.R.L.), 635
   B.R. 517 (B.A.P. 9th Cir. 2022) ..............................................................................................20

In re Suntech Power Holdings Co., 520 B.R. 399 (Bankr. S.D.N.Y. 2014) .................................21

In re Toft, 453 B.R. 186 (Bankr. E.D.N.Y. 2011)..........................................................................19

In re Tradex Swiss AG, 384 B.R. 34 (Bankr. D. Mass. 2008) .......................................................17

Official Committee of Unsecured Creditors of Arcapita v. Bahrain Islamic Bank,
    549 B.R. 56 (S.D.N.Y. 2016)...................................................................................................22

In re Ward, 201 B.R. 357 (Bankr. S.D.N.Y. 1996) .................................................................10, 17

In re Xacur, 219 B.R. 956 (Bankr. S.D. Tex. 1998) ................................................................21, 23

In re Yukos Oil Co., 321 B.R. 396 (Bankr. S.D. Tex. 2005) .........................................................30

                                                    STATUTES AND RULES

11 U.S.C. § 101(23) ...............................................................................................2, 3, 6, 13, 14, 16

11 U.S.C. § 305(a)(1) ..............................................................................................................28, 30

11 U.S.C. § 305(a)(2) ....................................................................................................................31

11 U.S.C. § 1502 ............................................................................................................................17

UNCITRAL Model Law ................................................................................................................14

                                                                        iv
RLF1 27942059v.1
                   Case 22-10630-JTD               Doc 55         Filed 09/14/22         Page 6 of 38




                                                 MISCELLANEOUS

COLLIER ON BANKRUPTCY P. 101.23 (16th 2022)............................................................................7

HOUSE REPORT ON THE BANKRUPTCY ABUSE PREVENTION AND
CONSUMER PROTECTION ACT OF 2005, H.R. REP. NO. 109-31, pt. I
(2005), reprinted in 2005 U.S.C.C.A.N. 88 ...................................................................................13




                                                              v
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55       Filed 09/14/22         Page 7 of 38




         Robert Wagstaff (the “Foreign Representative”), duly appointed as the foreign

representative by Mr. Fernando Alonso-de-Florida Rivero, the court-appointed liquidator (the

“Mexican Liquidator”) of the Special Expedited Commercial proceeding (Via Sumaria Especial

Mercantil) for the liquidation (the “Mexican Liquidation Proceeding”) of Crédito Real, S.A.B.

de C.V., SOFOM, E.N.R., (“Crédito Real”) pending in the 52nd Civil State Court of Mexico City

(the “Mexican Court”) under Articles 229, 232, 233, 236 and others of the Ley General de

Sociedades Mercantiles, as originally published in the Diario Oficial de la Federación on August

4, 1934, and last revised on June 14, 2018 (as amended, the “Mexican Corporations Law”),

respectfully submits this reply (the “Reply”) (a) in response to the Objection Of The Ad Hoc Group

To The (I) Verified Petition For Recognition Of Foreign Main Proceeding and (II) Motion Of

Crédito Real To Dismiss The Involuntary Chapter 11 Petition [Case No. 22-10696 (JTD), Docket

No. 55] (the “AHG Obj.”)2 and (b) in support of the Verified Petition for Recognition of Foreign

Main Proceeding [Case No. 22-10630 (JTD), Docket No. 2] (the “Verified Petition”)3 and the

Motion of Crédito Real to Dismiss the Involuntary Chapter 11 Petition [Case No. 22-10696,

Docket No. 5] (the “Motion to Dismiss”). The Foreign Representative relies on and incorporates

the Declaration Of Juan Pablo Estrada Michel Pursuant To 28 U.S.C. § 1746 [Case No. 22-10630

(JTD), Docket No. 3] (the “First Estrada Declaration”), the Supplemental Declaration Of Juan

Pablo Estrada Michel [Case No. 22-10630 (JTD), Docket No. 43], (the “Second Estrada

Declaration”), the Third Declaration of Juan Pablo Estrada Michel Pursuant To 28 U.S.C. § 1746

(the “Third Estrada Declaration”) and the Declaration of José Ramón Cossío-Díaz in Support



2
    This Reply also addresses the informal pro se objection of Mr. Stanislav Bozhenko dated August 22, 2022, [Case
    No. 22-10630 (JTD), Docket No. 41] (the “Bozhenko Letter”).
3
    Capitalized terms used herein but not otherwise defined shall have the meaning set forth in the Verified Petition.




RLF1 27942059v.1
                   Case 22-10630-JTD          Doc 55        Filed 09/14/22   Page 8 of 38




of the Verified Petition and Motion to Dismiss (the “Cossío-Díaz Declaration”), and respectfully

states as follows:


                                    PRELIMINARY STATEMENT

         1.        The AHG’s opposition to the recognition of the Mexican Liquidation Proceeding

and insistence that this Court should instead force Crédito Real ⸺ a Mexican company, which has

the majority of its assets and business in Mexico and which is subject to a Mexican insolvency

proceeding ⸺ into a U.S. plenary chapter 11 case against its will is without merit and

unprecedented. Despite prior negotiations with the AHG, Crédito Real decided against filing a

voluntary chapter 11 case that would have required a $135 million secured DIP loan from members

of the AHG (more than half of which was to pay professional fees) to fund what was essentially a

liquidating plan. In reaction to that decision, certain members of the AHG resorted to filing an

involuntary bankruptcy petition as a coercive litigation tactic to convince Crédito Real to

“ultimately [] transition to voluntary [chapter 11] proceedings.”4 Such a brazen attempt to

weaponize international insolvency laws to force a liquidating Mexican company into an

involuntary U.S. chapter 11 case is not a valid defense to the Motion to Dismiss.

         2.        The basis for dismissing the Involuntary Case is further strengthened by the filing

of the Mexican Liquidation Proceeding, which was commenced in accordance with the laws of

Mexico, Crédito Real’s home country. Relying on a number of Mexican legal expert opinions that

are largely irrelevant to issues of U.S. law, the AHG argues that recognition is improper because

the Mexican Liquidation Proceeding is (i) not a “foreign proceeding” (a position that, as explained

below, is not supported by either the statute or precedent), and (ii) manifestly contrary to U.S.

public policy (an incredibly high standard that the AHG does not come close to meeting). The


4
    Transcript of Status Conference, August 9, 2022 at 12:13-14.

                                                        1
RLF1 27942059v.1
                   Case 22-10630-JTD        Doc 55       Filed 09/14/22      Page 9 of 38




AHG’s strategies and arguments are contradictory to fundamental principles of comity, which

clearly favor recognition under chapter 15 of title 11 of the U.S. Code (the “Bankruptcy Code”)

of the Mexican Liquidation Proceeding and dismissal of the Involuntary Case.

         3.        Indeed, the Mexican Liquidation Proceeding satisfies each of the elements of a

“foreign proceeding” under section 101(23) of the Bankruptcy Code, including:

                  The Mexican Liquidation Proceeding is a “collective judicial proceeding” as it was
                   commenced in the Mexican Court, which by order appointed the Mexican
                   Liquidator to act as an independent fiduciary empowered to liquidate Crédito Real’s
                   assets for the benefit of all of its stakeholders.
                  The Mexican Liquidation Proceeding is governed by a “law relating to insolvency”
                   because, among other reasons, it was commenced under the Mexican Corporations
                   Law with the Mexican Court on the basis of a statutory requirement that Crédito
                   Real had lost 2/3 of the value of its capital stock.
                  The Chapter 15 Debtor’s assets and liabilities are subject to the “supervision” of
                   the Mexican Court, as the Mexican Liquidation Proceeding was commenced and
                   will end by order of that Court and any party in interest can challenge any act by
                   the Mexican Liquidator or seek dismissal of the Mexican Liquidation Proceeding
                   in the Mexican Court.

Indeed, the Third Circuit has affirmed that a substantially similar liquidation proceeding

recognized by this Court under chapter 15 was a “foreign proceeding” entitled to recognition.5

         4.        Ignoring the statute and binding precedent, the AHG instead focuses on the

distinctions between the Mexican Liquidation Proceeding and a chapter 11 case. In doing so, the

AHG argues for a standard that was long ago rejected by U.S. courts. A foreign proceeding need

not be the same as a case under the U.S. Bankruptcy Code to be granted chapter 15 recognition.

Moreover, the purported gaps that the AHG identifies as alleged fatal “deficiencies” in the

Mexican Corporations Law are either supplemented and filled by other applicable Mexican laws

and procedures, in accordance with principles of statutory interpretation under Mexico’s civil law,



5
    In re ABC Learning Ctrs. Ltd., 728 F.3d 301 (3d Cir. 2013) (granting recognition to a similar liquidation
    proceeding, which was conducted out-of-court under the Australian corporations law).

                                                     2
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55          Filed 09/14/22      Page 10 of 38




or are entirely inapplicable.

         5.        Moreover, the AHG’s due process concerns ring hollow. Its members received

proper notice of the Mexican Liquidation Proceeding under Mexican law but, unlike another

stakeholder, they have declined to challenge its commencement in the Mexican Court. Despite

the AHG’s complaints, no Mexican court has determined that creditors lack standing to

complain in the Mexican Liquidation Proceeding. The AHG has also declined to engage with the

Mexican Liquidator in any way and failed to raise any concerns with the Mexican Court regarding

the Liquidator’s conduct in the Mexican Liquidation Proceeding. Instead, just one of its members

(Monex) is actively pursuing a constitutional challenge to the Mexican Liquidation Proceeding

through an amparo process in a Mexican federal court. While that action has so far not yielded

the result the AHG would like, it does not mean the AHG has been denied due process in Mexico.

         6.        Attempting to discredit the Mexican Liquidation Proceeding, the AHG proffers

Mexican legal experts who opine that the only insolvency law in Mexico is the Ley Concurso

Mercantiles and then laboriously compare the Mexican Liquidation Proceeding to concurso.

These expert opinions, however, are irrelevant. First, the definition of “foreign proceeding” under

section 101(23) of the Bankruptcy Code is an issue of U.S. ⸺ not Mexican ⸺ law and is for this

Court to decide, not foreign law experts. Second, that a concurso proceeding would be entitled to

recognition or in the Mexican legal expert’s view, is the preferred insolvency proceeding in

Mexico does not preclude recognition of the Mexican Liquidation Proceeding by this Court under

chapter 15. Countries (including the U.S.) can and do have more than one proceeding capable of

chapter 15 recognition under multiple bodies of law related to insolvency. Each proceeding must

be evaluated on its own merits under the requirements of chapter 15.6


6
    Ironically, in spite of all its focus on concurso, the AHG then goes on to argue that (i) concurso is unavailable to
    Crédito Real because it lacks the audited financial statements needed to file a concurso and (ii) the AHG’s
                                                           3
RLF1 27942059v.1
                   Case 22-10630-JTD        Doc 55         Filed 09/14/22     Page 11 of 38




         7.        The AHG also fails to show how the Mexican Liquidation Proceeding is

“manifestly contrary to the public policy of the United States” under section 1506 of the

Bankruptcy Code. Contrary to the AHG’s arguments, however, Mexican law does provide for an

order and priority of payments of Crédito Reals’s liabilities. The Mexican Liquidator is required

to distribute Crédito Real’s assets to creditors ahead of shareholders and to secured and other

priority creditors before distributions can be made to unsecured creditors. Mexican law does not

permit local creditors to receive preferential treatment or prejudice U.S. creditors in the Mexican

Liquidation Proceeding, nor does it allow any shareholder to obtain a release of liability or any

distribution ahead of creditors. To date, the Mexican Liquidator has only made distributions to

secured and priority creditors, and no party in interest has sought to challenge these distributions

in the Mexican Court.

         8.        Finally, the AHG’s objection to the Motion to Dismiss fails for five main reasons.

First, Crédito Real lacks “extensive contacts” with the U.S., as it has limited U.S. assets and no

operations, employees or representatives in the United States. The mere borrowing of U.S. debt

and the limited submission to the New York courts in a bond indenture is insufficient to force a

plenary U.S. chapter 11 case on this Mexican company. Indeed, the offering memoranda for the

New York Notes clearly disclosed that Mexican insolvency proceedings, including a liquidation,

may take place in Mexico. Second, the Involuntary Case is unlikely to be successful, as the

Mexican Court has already exercised exclusive jurisdiction over Crédito Real’s assets; courts in

Mexico will not ignore applicable Mexican law to give effect to orders of this Court. Third, this

Court should dismiss this Involuntary Case under either section 305(a)(1) or section 1112(b) of




    involuntary chapter 11 case against Crédito Real is the U.S. is the sole proceeding to liquidate this Mexican
    company.

                                                       4
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55         Filed 09/14/22       Page 12 of 38




the Bankruptcy Code because the interests of all parties will be better served in the Mexican

Liquidation Proceeding. Fourth, the Insolvency Case lacks a legitimate restructuring purpose, as

it was filed as a negotiation tactic. Fifth, should the Court recognize Crédito Real’s Mexican

Liquidation Proceeding under chapter 15, the purposes of chapter 15 are best served by dismissal

of the Involuntary Case as expressly provided by section 305(a)(2) of the Bankruptcy Code.

         9.        As the Third Circuit recognized, in enacting chapter 15 of the Bankruptcy Code,

Congress’ “overriding objective [is to] enable[] courts and insolvency administrators to operate

effectively and efficiently in international insolvency cases with the goals of maximizing the value

the debtor’s global assets.”7 Those objectives are best served here by allowing the Mexican

Liquidator to move forward without interference and the Mexican Court to oversee the Mexican

Liquidation Proceeding, in accordance with Mexican law. Accordingly, this Court should dismiss

the Involuntary Case and recognize the Mexican Liquidation Proceeding under chapter 15.

                                                  ARGUMENT

         The Court Should Grant Recognition to the Mexican Liquidation Proceeding

         10.       The Mexican Liquidation Proceeding satisfies each of the elements of a “foreign

proceeding” under section 101(23) of the Bankruptcy Code,8 which is broadly construed.9

         A.        The Mexican Liquidation is a “Proceeding”

         11.       The AHG argues that the Mexican Liquidation Proceeding is not a “proceeding”


7
    In re ABC Learning Ctrs. Ltd., 728 F.3d at 305.
8
    Section 101(23) of the Bankruptcy Code defines “foreign proceeding” as a “collective judicial or administrative
    proceeding in a foreign country, including an interim proceeding, under a law relating to insolvency or adjustment
    of debt in which proceeding the assets and affairs of the debtor are subject to control or supervision by a foreign
    court, for the purpose of reorganization or liquidation.” 11 U.S.C. §101(23). The AHG does not dispute that the
    Mexican Liquidation Proceeding is pending in Mexico ⸺ a foreign country ⸺ or that the Mexican Liquidation
    Proceeding is for the purpose of liquidation, but disputes that all other elements of this definition are met.
9
    In re Netia Holdings S.A., 277 B.R. 571, 580-81 (Bankr. S.D.N.Y. 2002) (“The language of section 101(23) is
    broad, and by its terms encompasses a broad array of types of proceedings.”); In re MMG LLC, 256 B.R. 544,
    550 (Bankr. S.D.N.Y. 2000).

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RLF1 27942059v.1
                   Case 22-10630-JTD          Doc 55         Filed 09/14/22      Page 13 of 38




because it “does not provide for a statutory framework that imposes meaningful constraints” on

Crédito Real.10 This is false as courts have held that a process that results in the termination of

authority of a company’s directors, and is one that, once commenced, cannot be stopped by the

shareholders of the debtor is support for finding the existence of a “proceeding” under section

101(23) of the Bankruptcy Code.11

           12.     Here, the Mexican Liquidator ⸺ an independent fiduciary, appointed by the

Mexican Court (and not by the shareholder as alleged by the AHG)⸺ has displaced management

and the Board and has assumed control of Crédito Real’s affairs for the purpose of liquidating the

business.12 The Mexican Liquidation Proceeding will end when the Mexican Liquidator has

completed liquidating the business, presents the final balance sheet to the Mexican Court and

receives an order from the Mexican Court establishing that his appointment and duties have

ended.13 And while the Mexican Liquidation Proceeding was commenced by the shareholder, it

cannot be terminated by that shareholder.14

           13.     Rather than analyzing the standards for chapter 15 recognition, the AHG instead

cherry-picks examples of statutory provisions available under the Ley Concurso Mercantiles (the

“LCM”), but not in the Mexican Liquidation Proceeding, claiming that the statutory framework

provided by the Mexican Corporations Law is “deficient” because it does not mirror the LCM.

The AHG and its experts’ laborious comparisons to, and self-serving conclusions about, the



10
     AHG Obj. ¶ 44 (citing In re ABC Learning Ctrs. Ltd., 445 B.R. at 328).
11
     See, e.g., In re Betcorp Ltd., 400 B.R. 266, 280 (Bankr. D. Nev. 2009) (“The fact that commencing this type of
     external administration terminates the authority of the company’s directors, combined with the fact that the
     winding up cannot be stopped by the equity interest holders once they have passed the special resolution, lends
     further support to a finding that this Australian legal process is a proceeding.”).
12
     First Estrada Decl. ¶ 17.
13
     Third Estrada Decl. ¶ 14.
14
     Id.

                                                         6
RLF1 27942059v.1
                   Case 22-10630-JTD              Doc 55         Filed 09/14/22        Page 14 of 38




“proper” Mexican insolvency process for Crédito Real being a concurso are, however, irrelevant.15

“Courts have construed the definition of ‘foreign proceeding’ under the Bankruptcy Code

broadly.”16 Foreign countries can have a “multitude” of proceedings “to end a corporation’s

existence” and U.S. courts evaluate each proceeding on its own merits applying chapter 15’s

standards.17 The foreign law expert testimony submitted by the AHG regarding the application of

the UNCITRAL Model Law to the Mexican Liquidation Proceeding purports to opine on a matter

of U.S. law ⸺ the interpretation of chapter 15 of the Bankruptcy Code ⸺ that is for this Court to

decide, not foreign law experts.18

         14.       The alleged “deficiencies”19 of the Mexican Corporations Law are also misplaced.

The statutory provisions the AHG claims are missing from the Mexican Corporations Law are

either (i) supplemented by other laws that, in accordance with Mexico’s civil law statutory

interpretation procedure, can be applied to the Mexican Liquidation Proceeding20 or (ii)

unnecessary in the context of the Mexican Liquidation Proceeding:

        i.         Regulation of the final distribution of a debtor’s assets: While not setting forth a
                   detailed priority waterfall, the Mexican Corporations Law is clear that debt must be
                   repaid ahead of equity, and is supplemented by the Mexican Federal Civil Code,
                   which provides that creditors with a lien or other privilege are paid ahead of
                   unsecured creditors. Consequently, administrative, tax, employee, secured and




15
     AHG Obj. ¶¶ 45, 52-54.
16
     COLLIER ON BANKRUPTCY P 101.23 (16th 2022).
17
     See, e.g., In re Betcorp Ltd., 400 B.R. at 278.
18
     Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006) (finding that the district court “must ensure
     that an expert does not testify as to the governing law of the case”).
19
     AHG Obj. ¶¶ 41, 45, 49.
20
     Third Estrada Decl. ¶ 3. Indeed, U.S. courts have recognized that, in civil law countries, statutes often supplement
     each other in order to facilitate statutory interpretation and their application. In re Bd. of Dirs. of Multicanal S.A.,
     314 B.R 486, 504 (Bankr. S.D.N.Y. 2004) (recognizing that the absence of detailed statutory framework
     Argentine courts could apply other laws to resolve disputes concerning the law governing the proceeding).

                                                             7
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55          Filed 09/14/22      Page 15 of 38




                   certain other priority claims (including pre-judgment attachments) are paid ahead
                   of general unsecured creditors as a matter of Mexican law.21

       ii.         Avoidance actions: While “the prevention of fraudulent dispositions” is not a factor
                   that U.S. courts consider in connection with a request for recognition under section
                   1517 of the Bankruptcy Code,22 such protections are available during the Mexican
                   Liquidation Proceeding as parties in interest may pursue avoidance actions under
                   provisions of the Mexican Federal Civil Code.23

      iii.         Proofs of claim and creditors’ rights to contest the validity and priority of claims:
                   No proof of claim process is required in the context of the Mexican Liquidation
                   Proceeding; rather, claims recorded in the company’s books and records are
                   presumptively valid without further creditor action. But creditors are permitted to
                   engage with the liquidator and proffer evidence regarding the quantum of their
                   claim where they disagree with the company’s books. If necessary, creditors can
                   also challenge the allowed amount of their claim, the validity and priority of claims,
                   and any distributions received in a Mexican court.24 Despite, the AHG’s attempts
                   to superimpose U.S. procedural requirements on the Mexican Liquidation
                   Proceeding, U.S. courts have granted comity to other foreign insolvency regimes
                   that lack a proof of claims process.25

      iv.          Ability of creditors to negotiate a plan or liquidation with the debtor: While the
                   purpose of the Mexican Liquidation Proceeding is liquidation rather than
                   reorganization of the company, creditors have the ability to engage with the
                   Mexican Liquidator and may propose the terms of a settlement or other value-
                   maximizing transaction. The liquidator will consider any such proposal in
                   accordance with his fiduciary duties, which include a duty of care to protect the
                   interests of creditors, inform himself regarding the company, avoid conflicts of
                   interests, and preserve confidential information. To the extent that creditors are
                   dissatisfied with the liquidator’s response to any such proposal, they may seek to
                   challenge the liquidator’s conduct in a Mexican court.26



21
     Third Estrada Decl. ¶¶ 21-24.
22
     Instead, Congress provided that this factor applies to a foreign representative’s request for additional relief
     following recognition pursuant to section 1507(b)(3) of the Bankruptcy Code. Even under an analysis section
     1507(b)(3), U.S. courts have held that avoidance actions do not need to be identical to U.S. law for a foreign
     representative to be granted additional relief. In re Bd. of Dirs. of Multicanal S.A., 314 B.R. at 508 ( “[a]lthough
     the procedures in Argentina are not identical to the treatment of preferences and fraudulent conveyances under
     U.S. insolvency law, they need not be.”).
23
     Third Estrada Decl. ¶ 17.
24
     Id. ¶¶ 18, 29-30.
25
     In re Bd. of Dirs. of Multicanal S.A., 314 B.R. at 509 (finding that proof of claim requirement was unnecessary
     in Argentinian process where all claims were automatically recognized without the need for any burdensome
     action by creditors).
26
     Third Estrada Decl. ¶¶ 20, 32-36.

                                                            8
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55         Filed 09/14/22       Page 16 of 38




       v.           Appointment of an intervenor, examiner or trustee: The Mexican Liquidator is a
                    fiduciary that is supervised by the Mexican regulators and the Mexican courts and
                    bears personal liability for 10 years for any act that exceeds the scope of his
                    authority.27 The appointment of any other estate fiduciary in these circumstances
                    is not necessary and would be redundant.

            B.      The Mexican Liquidation is “Collective”

            15.     The AHG argues that the Mexican Liquidation Proceeding is not “collective”

because it “does not contemplate meaningful participation by all creditors” and was commenced

by a shareholder.28 Not only is the AHG incorrect regarding creditor participation in the Mexican

Liquidation Proceeding, but it misstates the standard for a “collective” proceeding and ignores the

due process that stakeholders have already been afforded by the Mexican courts in the Mexican

Liquidation Proceeding to date.

                   i.   The Mexican Liquidation Proceeding is for the benefit of all creditors

            16.     In the Third Circuit a proceeding is “collective” if it “considers the rights and

obligations of all creditors” as opposed to being for the benefit of a single creditor or class of

creditors.29 Here, the Mexican Liquidator owes a paramount duty of care to all creditors and must

consider the rights of all creditors in distributing assets according to a statutory priority waterfall

that is provided by Mexican law.30 Although the AHG notes that the shareholder (Mr. Romanos)

commenced the proceeding,31 the AHG does not and cannot argue that the Mexican Liquidation


27
     Id. ¶ 32; Cossío-Díaz ¶ 24.
28
     AHG Obj. ¶¶ 2, 47. The Bozhenko Letter falsely contends that the “liquidation of the company via Mexican
     Court increases the risks that the interests and rights of international bond investors will be violated.”
29
     ABC Learning Ctrs., 728 F.3d at 308. In articulating this standard, the Third Circuit found that an Australian
     liquidation was collective “because the liquidator must consider the rights of all the creditors in distributing
     assets” whereas receivership was not because the receiver “only represents the interests of the secured creditors.”
     Id.; see also In re Manley Toys Ltd., 580 B.R. 632, 640 (Bankr. D.N.J. 2018) (finding Hong Kong winding up
     was collective where liquidator owed duty to all creditors).
30
     Third Estrada Decl. ¶¶ 31, 34.
31
     AHG Obj. ¶¶ 49-50. While the AHG casts aspersions regarding the subjective intent of the shareholder in
     commencing the Mexican Liquidation Proceeding, the AHG has offered no evidence of the shareholder’s
     motivations and nor are they relevant to the matter before the Court. Moreover, the AHG does not and cannot
                                                           9
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55       Filed 09/14/22         Page 17 of 38




Proceeding is being conducted for Mr. Romanos’ sole benefit,32 or that it can it shield Mr.

Romanos from personal civil or criminal liability.33 Indeed, U.S. courts have found that various

liquidations commenced by shareholders were “collective” proceedings eligible for chapter 15

recognition.34

                ii.    Notice of the Mexican Liquidation Proceeding complied with applicable
                       Mexican law

         17.       The AHG further complains that the Mexican Liquidation Proceeding is not

“collective” because creditors did not receive service of process of the commencement of the

proceeding in the manner that is required by U.S. law.35 Courts, however, do not superimpose

U.S. standards of notice on a foreign proceeding; rather, the relevant inquiry is whether notice is

adequate under the foreign law.36 The Mexican Corporations Law does not require creditors to be

formally served with court papers.37 Instead, notice of the commencement of a liquidation

proceeding and decisions of the Mexican courts affecting the proceeding, including decisions of


     identify any provision of Mexican law that would afford the shareholder any release in respect of any alleged
     personal or criminal liability pursuant to the Mexican Liquidation Proceeding.
32
     While Mr. Sainz does contend that the liquidator’s final balance sheet is approved by shareholders rather than
     creditors (Sainz Decl. ¶ 14), this does not occur where (as here) the dissolution is under the supervision of the
     Mexican Court. Third Estrada Decl. ¶ 29.
33
     Third Estrada Decl. ¶ 14 n. 19.
34
     See, e.g., In re Betcorp Ltd., 400 B.R. at 278-80 (recognizing Australian liquidation commenced by shareholder
     resolution); In re Manley Toys Ltd., 580 B.R. at 636, 640 (recognizing Hong Kong liquidation commenced by
     shareholder resolution); In re Ward, 201 B.R. 357, 362 (Bankr. S.D.N.Y. 1996) (recognizing Zambian liquidation
     proceeding commenced by shareholder resolution and later ratified by creditors).
35
     AHG Obj. ¶ 47.
36
     In re ABC Learning Ctrs. Ltd., 445 B.R. at 329 aff’d 728 F.3d 301 (finding Australian winding up was a collective
     proceeding irrespective of lack of notice to certain U.S. creditors where administrators complied with Australian
     requirements to contact all known creditors and complete publication notice); In re Manley Toys Ltd., 580 B.R.
     at 641 (granting recognition where objecting creditor did not receive timely notice of creditors’ meeting where
     notice period under Hong Kong law was not violated); In re Condor Flugdienst GmbH, 627 B.R. 366, 377 (Bankr.
     E.D. Ill. 2021) (granting full force and effect to German confirmation order where creditors received notice under
     German law, and holding that “[w]hile the notice utilized in the Foreign Proceeding was not the same as would
     have been afforded here, as noted above, it is not necessary for the court to second guess those processes”).
37
     Third Estrada Decl. ¶ 15. Additionally, while the docket in the Mexican Liquidation Proceeding is not publicly
     available, counsel for parties in interest can register for electronic docket notifications. Id. n. 21.

                                                          10
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 18 of 38




the liquidator, is given by publication in the Official Gazette, and annotations in the Public

Registry. Those steps occurred in the Mexican Liquidation Proceeding in accordance with the

notice requirements of Mexican law.38

         18.       In addition, the AHG and other creditors received actual notice of the

commencement of the Mexican Liquidation Proceeding through service of the Verified Petition in

this Chapter 15 Case. Courts have found objections to recognition on the basis of alleged concerns

regarding notice particularly unpersuasive where the objecting creditor had actual notice.39 The

Mexican Liquidator also provided notice that went above and beyond the requirements of Mexican

law by publicly filing a report with the Mexican Stock Exchange that provided an update on the

progress of the Mexican Liquidation Proceeding.40 If any creditor believes it necessary or is unable

or unwilling to resolve matters directly with the Mexican Liquidator, it can challenge the actions

and decisions of the Mexican Liquidator in a Mexican court.41

               iii.    All stakeholders have been afforded due process by the Mexican courts

         19.       While the AHG contends that it lacks standing to be heard by the Mexican Court in

respect of the commencement of the Mexican Liquidation Proceeding, it did not even try.42

Creditors are afforded ample opportunity to participate in the Mexican Liquidation Proceeding by


38
     Third Estrada Decl. ¶ 15.
39
     In re ABC Learning Ctrs. Ltd., 445 B.R. at 329, aff’d 728 F.3d 301 (overruling creditor’s objection that proceeding
     was not “collective” where notice of foreign proceeding was proper under foreign law and objecting creditor had
     actual notice and an opportunity to be heard by local courts); In re Energy Coal S.P.A., 582 B.R. 619 (Bankr. D.
     Del. 2018) (granting recognition to an Italian restructuring plan, despite imperfect notice under foreign law, as
     interests of creditors were sufficiently protected through other communications).
40
     The report was filed and served in this Chapter 15 Case as an update under section 1518 of the Bankruptcy Code
     concurrently with this Reply. Statement Notifying the Court of the Developments in the Mexican Liquidation
     Proceeding Pursuant to 11 U.S.C. 1518 and 28 U.S.C. § 1746 [Case No. 22-10630 (JTD), Docket No. 53]. The
     Mexican Liquidator will continue filing periodic reports with the Mexican Court regarding the progress of the
     Mexican Liquidation Proceeding, and the Foreign Representative will continue to file those updates in this
     Chapter 15 Case.
41
     Third Estrada Decl. ¶ 30.
42
     AHG Obj. ¶¶ 2, 3, 47, 59, 67.

                                                          11
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 19 of 38




engaging with the liquidator and by bringing challenges in a Mexican court.43

         20.       Article 232 of the Mexican Corporations Law expressly provides that all parties in

interest have thirty (30) days from the entry of the order commencing the liquidation under the

Mexican Corporations Law to challenge its commencement. Indeed, a shareholder availed itself

of these rights and challenged the Mexican Order in an appeal that is currently pending in the

Mexican Court.44 The AHG received actual notice of the Mexican Order on the same day that it

was entered through service of the chapter 15 papers but it did not pursue a similar challenge in

the Mexican Court.45

         21.       Instead, one member of the AHG elected to challenge the Mexican Liquidation

Proceeding in Mexico through a constitutional challenge known as an amparo in the Mexican

federal court system.46 Although, the amparo process was not, as the AHG suggests, “the only

recourse available to creditors”47 under the Mexican Corporations Law, that was the recourse the

AHG chose. The AHG had notice of exactly what was happening in the Mexican Court, it had

multiple options for its challenging those actions and it is actively pursuing one of those options.48

The fact that the AHG’s challenge has not been successful does not mean it did not receive due

process.



43
     Third Estrada Decl. ¶¶ 25-30; Cossío-Díaz Declaration ¶¶ 17-19.
44
     Id. ¶ 28. As set forth in the Second Mexican Law Declaration, appeals are filed directly with the lower state court
     of first instance that entered the challenged order. If the lower state court finds that an appeal complies with the
     legal requirements under the Código de Comercio (the “Mexican Commercial Code”) and Mexican procedural
     law, it admits and submits such appeal for review by the Mexican Appellate Court (efecto devolutivo). Second
     Estrada Decl. ¶ 23.
45
     Certificate of Service [Case No. 22-10630 (JTD), Docket No. 38].
46
     Second Estrada Decl. ¶¶ 14-21.
47
     AHG Obj. ¶ 47.
48
     In re ABC Learning Ctrs. Ltd., 445 B.R. 318, 329 (Bankr. D. Del. 2010), aff’d 728 F.3d 301 (overruling creditor’s
     objection that proceeding was not “collective” where notice of foreign proceeding was proper under foreign law
     and objecting creditor had actual notice and an opportunity to be heard by local courts).

                                                           12
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 20 of 38




         C.        The Mexican Liquidation is a Proceeding Related to Insolvency

         22.       The AHG further argues that the Mexican Liquidation Proceeding is not “a law

related to the insolvency or the adjustment of debts” as required by section 101(23) of the

Bankruptcy Code. This argument runs contrary to the legislative history of both the UNCITRAL

Model Law and chapter 15 of the Bankruptcy Code, as well as the precedent in this Circuit.

         23.       Congress has instructed that interpretation of chapter 15 should be aided by the

Guide to Enactment promulgated by UNCITRAL.49 The Guide to Enactment provides that the

phrase “or other law relating to insolvency” in Article 2(a) of the UNCITRAL Model Law should

be interpreted broadly noting “liquidation and reorganization might be conducted under law that

is not labelled as insolvency law (e.g. company law).”50 Congress further broadened the types of

laws that could qualify for chapter 15 recognition by adding the phrase “or the adjustment of debt”

when it defined “foreign proceeding” in section 101(23) of the Bankruptcy Code. In light of this

legislative history, U.S. courts have granted recognition to foreign proceedings commenced under

corporations laws.51

         24.       Here, the Mexican Corporations Law provides for a court-ordered dissolution and

liquidation proceeding that is conditioned on an event related to insolvency ⸺ the loss by a

company of two-thirds of its shareholder capital.52 While a company need not be insolvent to




49
     HOUSE REPORT ON THE BANKRUPTCY ABUSE PREVENTION AND CONSUMER PROTECTION ACT
     OF 2005, H.R. REP. NO. 109-31, pt. I, at 105 (2005), reprinted in 2005 U.S.C.C.A.N. 88, 169 (“Interpretation of
     this chapter on a uniform basis will be aided by reference to the Guide and the Reports cited therein, which explain
     the reasons for the terms used and often cite their origins as well.”).
50
     UNCITRAL Model Law on Cross-Border Insolvency with Guide to Enactment and Interpretation, at 73.
51
     See, e.g., In re ABC Learning Ctrs. Ltd., 728 F.3d at 307-08 (affirming recognition of Australian winding up
     under Corporations Act ); In re Betcorp Ltd., 400 B.R. at 278 (same).
52
     Third Estrada Decl. ¶ 7.

                                                           13
RLF1 27942059v.1
                   Case 22-10630-JTD             Doc 55        Filed 09/14/22         Page 21 of 38




obtain chapter 15 recognition,53 the Third Circuit has determined that a similar test ⸺

unreasonably small capital ⸺ is an accepted indicia of insolvency.54 The Mexican legislators’

intent that an insolvent company may liquidate under the Mexican Corporations Law is also

reflected in the priority rule established by Articles 242-243 of the Mexican Corporations Law,

which provide that shareholders cannot receive a recovery until creditors are paid in full.55 Such

a priority rule would be redundant if the Mexican Corporations Law was intended only to facilitate

solvent liquidations.

         25.       The legislative history of the Mexican Corporations Law further supports the

statute’s application to insolvent liquidations. The legislative history acknowledges that many

companies (approximately 40%) in Mexico are statistically doomed to fail and therefore a

simplified liquidation procedure was necessary to facilitate the exit of inefficient companies, which

promotes the reuse of resources in more productive activities.56

         26.       There are also various other provisions of the Mexican Corporations Law (other

than those provisions that provide for the liquidation and dissolution of a company) that render the

general character of the Mexican Corporations Law “a law related to insolvency”.                                    Those

provisions include: the distribution of proceeds of the liquidation of a partnership; the liquidation

priority of shares in the event of capital loss; and restrictions of the ability of companies to pay




53
     In re Betcorp Ltd., 400 B.R. at 282 (granting recognition to solvent winding up proceeding and finding that the
     “law related to insolvency” requirement of section 101(23) “does not require the company to be either insolvent
     or to be contemplating using the provisions of the [foreign] law to adjust any debts”).
54
     See, e.g., Burtch v. Opus LLC (In re Opus E. LLC.), 698 F. Appx. 711, 715 (3d Cir. 2017) (“there are three tests
     for determining whether an organization is solvent at a given point in time: the balance sheet test, the cash flow
     test and the inadequate capital test . . . an entity has unreasonably small capital if it lacks the ability to generate
     sufficient profits to sustain operations”).
55
     Third Estrada Decl. ¶¶ 21-22.
56
     Third Estrada Decl. ¶ 8.

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RLF1 27942059v.1
                   Case 22-10630-JTD          Doc 55        Filed 09/14/22   Page 22 of 38




dividends ahead of paying creditors where the company is in financial distress.57 The Mexican

Corporations Law must also be interpreted as part of the broader statutory framework for

liquidation provided by the Mexican Commercial Code and the Mexican Federal Civil Procedure

Code, which regulate various additional matters related to insolvency and the adjustment of debt

such as a liquidator’s ability to adjust a company’s debts through negotiating settlements and

paying creditors less than the face value of their claims, among other things.58

         27.         The AHG contends, as a matter of Mexican law, that the Mexican Liquidation

Proceeding is not an “insolvency” proceeding because the LCM (which governs a concurso

proceeding) is Mexico’s “specialized legislation that governs insolvency.”59 But the LCM did not

supersede the Mexican Corporations Law ⸺ these two statutes, and their alternative regimes for

liquidating a company coexist.60            While the AHG contends that the Mexican Liquidation

Proceeding is not appropriate for an entity of Crédito Real’s size or with its capital structure, the

AHG can point to no provision of Mexican law that limits a Mexican company being subject to

the liquidation procedure provided under the Mexican Corporations Law. No such limitation

exists.61

         D.          The Mexican Liquidation Proceeding is a Court-Supervised Process

         28.         The AHG claims that the Mexican Liquidator has “unilateral authority to liquidate

Crédito Real’s assets in his sole discretion without any significant judicial guardrails or

oversight.”62 However, in doing so, the AHG ignores the clear jurisdiction, supervision and


57
     Id. ¶ 10.
58
     Id. ¶¶ 11-12.
59
     AHG Obj. ¶ 52.
60
     Cossío-Díaz Declaration ¶¶ 20-21, 25-27; Third Estrada Decl. ¶ 13.
61
     Third Estrada Decl. ¶ 4; Cossío-Díaz Decl. ¶¶ 15-16.
62
     AHG Obj. ¶ 55.

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RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 23 of 38




control that the Mexican regulators and Mexican courts exercise over the Mexican Liquidation

Proceeding.

         29.       U.S. courts have held that the “supervision” requirement of section 101(23) does

not require the foreign proceeding to be conducted in-court as a proceeding under the Bankruptcy

Code would be. The fact that liquidators, including the Mexican Liquidator, “proceed with most

of their duties without court involvement . . . do[es] not undermine the [foreign] court’s supervisory

role.”63 Indeed, in the Betcorp and ABC Learning Ctrs. decisions cited by the AHG, courts granted

recognition to Australian liquidations, even though such proceedings could conceivably be

conducted entirely out of court.64 The ability of creditors to challenge a liquidator’s conduct,

including through appeals after the action has been taken by the liquidator, is sufficient to meet

the requirement of court supervision.65

         30.       Here, the Mexican Liquidation Proceeding has a higher level of court supervision

than certain other winding up proceedings that have been granted chapter 15 recognition. The

Mexican Liquidation Proceeding was commenced by order of the Mexican Court, and the

liquidator was selected and appointed by the Court.66 The Mexican Liquidator is an attorney and



63
     In re ABC Learning Ctrs. Ltd., 445 B.R. at 332 (acknowledging that even in a proceeding under the Bankruptcy
     Code, bankruptcy courts typically give deference to business judgments and do not direct the daily activities of
     debtors).
64
     In re Betcorp Ltd., 400 B.R. at 279-80; In re ABC Learning Ctrs. Ltd., 445 B.R. at 332; see also In re Ward, 201
     B.R. at 361 (recognizing Zambian winding up even though there was no proceeding in court at all).
65
     In re Betcorp Ltd., 400 B.R. at 284 (finding ability of liquidators and creditors to request a court to determine
     “any question arising in the winding up of a company” and the ability of any person “aggrieved by an act,
     omission, or decision of . . . a liquidator to appeal to an Australian court” amounted to supervision by a judicial
     authority); In re ABC Learning Ctrs. Ltd., 445 B.R. at 332 (same); In re Ward, 201 B.R. at 361 (granting
     recognition to Zambian winding up under section 304 where proceeding was “not strictly a judicial proceeding”
     but was conducted by a court-sanctioned liquidator and aggrieved persons have access to appellate courts to
     redress grievances regarding the conduct of the winding up); In re Manley Toys, 580 B.R. at 639 (granting
     recognition to Hong Kong winding up which was “largely administrative in nature” where parties in interest may
     “access Hong Kong courts to protect their rights”).
66
     Third Estrada Decl. ¶ 5.

                                                          16
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55       Filed 09/14/22         Page 24 of 38




an officer of the Mexican Court, and any party in interest can apply to the Mexican Court to seek

to remove the liquidator for cause, challenge his decisions or challenge the commencement of the

Mexican Liquidation Proceeding itself. 67 Indeed, certain stakeholders (including a member of the

AHG) have already done so.                  Additionally, the Mexican Federal Institute of Business

Reorganization Specialists (Instituto Federal de Especialistas de Concursos Mercantiles or the

“IFECOM”)68 performs a supervisory function by assessing the professional qualifications of

prospective liquidators approving those professionals who are fit to act as liquidators, and, upon

request of any party in interest, monitors a liquidator’s performance and adherence to its duties

and ethical standards. The list of liquidators is revised on an annual basis, and the IFECOM may

remove any liquidator who has not complied with his duties or ethical standards under Mexican

law.69

         E.        Recognition of the Mexican Liquidation Proceeding Would Not be
                   Manifestly Contrary to U.S. Public Policy

         31.       For recognition to be denied as being “manifestly contrary to U.S. public policy”

under section 1506 the AHG must show “exceptional circumstances concerning matters of

fundamental importance”70. This is a very high threshold, as “even the absence of certain

procedural or constitutional rights will not itself be a bar under § 1506.”71 Although the AHG cites


67
     Id. ¶ 36.
68
     Regulatory authorities are encompassed within the definition of “foreign court” for the purposes of chapter 15
     recognition. 11 U.S.C. 1502 (defining “foreign court” as a “judicial or other authority”); In re Betcorp Ltd., 400
     B.R. at 277-78 (“Insolvency proceedings do not necessarily involve the intervention of a judicial authority; the
     expression ‘court’ in this Regulation should be given a broad meaning and include a person or body empowered
     by national law to open insolvency proceedings.”); In re Tradex Swiss AG, 384 B.R. 34, 42 (Bankr. D. Mass.
     2008) (Swiss Federal Banking Commission held to be a foreign court under chapter 15 because it controls and
     supervises liquidation of entities, such as a debtor, that are in brokerage trade).
69
     First Estrada Decl. ¶ 23.
70
     In re ABC Learning Ctrs. Ltd., 728 F.3d at 309 citing .N. Comm’n on Int’l Trade Law, Guide to Enactment of
     the UNCITRAL Model Law on Cross—Border Insolvency, ¶ 89, U.N. Doc A/CN.9/442 (1997).
71
     In re OAS, S.A., 533 B.R. 83, 104 (quoting Ad Hoc Grp. of Vitro Noteholders v. Vitro SAB de CV (In re Vitro SAB
     de CV), 701 F.3d 1031, 1069 (5th Cir. 2012)).

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RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 25 of 38




to three key principles of U.S. public policy that are supposedly violated, none of these alleged

issues warrant denying recognition of the Mexican Liquidation Proceeding under section 1506.

         32.       First, the AHG complains that the Mexican Liquidation Proceeding is

“procedurally unfair” based on an alleged lack of notice and an opportunity to be heard in the

Mexican Liquidation Proceeding.72 As set forth above, the AHG is wrong. Creditors received

sufficient notice and may challenge the commencement of the Mexican Liquidation Proceeding,

challenge any act taken by the Mexican Liquidator, or seek to remove the Mexican Liquidator for

cause. Supra ¶¶ 16-21, 30-30. Chapter 15 courts have repeatedly observed that the ability to

challenge actions after they have occurred in a foreign proceeding, including through appellate

review, contribute to a finding of due process in foreign proceedings.73 The AHG has failed to

show how it has been denied due process in Mexico, particularly where one AHG member is

actively pursuing its rights in an amparo proceeding in the Mexican courts.74 Supra ¶ 21.

         33.       Second, the AHG further claims that the Mexican Corporations Law “suffers from

substantive flaws” because it lacks priority rules equivalent to those in the U.S.75 This is incorrect.

Although a foreign distribution scheme need not be identical to the priority waterfall provided by



72
     AHG Obj. ¶¶ 3, 59, 69.
73
     See, e.g., In re ENNIA Caribe Holding N.V., 594 B.R. 631, 642 (Bankr. S.D.N.Y. 2018) (finding that due process
     concerns over lack of adequate notice of foreign emergency restructuring proceeding were obviated by the ability
     to challenge implementation of the proceeding on appeal in foreign court system); In re OAS, S.A., 533 B.R. at
     105 (“Due process is satisfied because these ex parte proceedings and orders are subject to ex post review, just
     as the consolidation order has been subject to ex post review in Brazil.”); In re Petroforte Brasileiro de Petroleo
     Ltda., 542 B.R. 899, 908 (Bankr. S.D. Fla. 2015) (finding that non-debtors, which were brought into Brazilian
     insolvency proceeding through an ex parte order, received due process because they were permitted to proceed
     on appeal).
74
     The AHG points to no case in which recognition of a foreign proceeding was denied based on procedural issues.
     All the cases the AHG cites in support of its argument point to a clear conflict between the laws or court order
     granted in the foreign state and a law or policy in the United States (like granting nonconsensual third party
     releases (In re Vitro), or defying a U.S. bankruptcy court order (In re Gold & Honey), or privacy rights (In re
     Toft)). AHG Obj. ¶¶ 56-57.
75
     AHG Obj. ¶¶ 3, 60.

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RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 26 of 38




the Bankruptcy Code,76 the order of priority applied in the Mexican Liquidation Proceeding

substantially accords with U.S. law. The Mexican Corporations Law is clear that equity cannot be

paid ahead of creditors, local Mexican creditors are not preferred over foreign creditors, and

secured and priority creditors are paid ahead of unsecured creditors. Supra ¶¶ 8, 16. Accordingly,

the AHG’s concerns that the Mexican Liquidator will make a distribution to Mr. Romanos or other

shareholders prior to unsecured creditors is unfounded as it would violate Mexican law.77

Similarly, the AHG’s claims that local creditors have been paid ahead of “other similarly situated

creditors,”78 is misguided conjecture. All distributions made to date have been to secured and

other priority creditors in accordance with the priority waterfall established by Mexican law.79

         34.       Third, the AHG contends that Mr. Romanos “blatantly disregarded” the automatic

stay initiated by the Involuntary Case and commenced the Mexican Liquidation Proceeding to

“frustrate creditors” for his own benefit. Not only has the AHG presented no evidence of Mr.

Romanos’ subjective intent, courts are clear that motivations or “bad acts” that precipitate a foreign

proceeding are irrelevant to the court’s consideration of whether recognition should be denied

under section 1506.80 Moreover, the AHG has failed to point to any provision of Mexican law that


76
     See, e.g., In re Rede Energia S.A., 515 B.R. 69, 97 (Bankr. S.D.N.Y. 2014) (enforcing Brazilian plan that
     authorized distributions with priorities that differ from those provided in the U.S. Bankruptcy Code); In re Bd. of
     Dirs. of Telecom Arg., S.A., 528 F.3d 162, 173 (2d Cir. 2008) (comity “does not require that foreign proceedings
     afford a creditor identical protections as under U.S. bankruptcy law”); In re Garcia Avila, 296 B.R. 95, 113
     (Bankr. S.D.N.Y. 2003) (rejecting creditor’s request to deny enforcement of a Mexican plan due to the absence
     of a Mexican “best interest of creditors” test); In re Oi S.A., 587 B.R. 253, 269 (Bankr. S.D.N.Y. 2018) (enforcing
     Brazilian restructuring plan notwithstanding disparate treatment of unsecured creditors where such treatment had
     a reasonable basis and received due process).
77
     AHG Obj. ¶ 60 .
78
     AHG Obj. ¶¶ 49, 60. The Bozhenko Letter also contends that there has not been “equal treatment” of creditors
     due to payments to certain Mexican banks while international bondholders are not receiving interest. This
     argument similarly fails to appreciate the priority waterfall established by Mexican law.
79
     Third Estrada Decl. ¶ 19.
80
     Samba v. Int’l Petroleum Prods. & Additives Co. (In re Black Gold S.A.R.L.), 635 B.R. 517, 529 (B.A.P. 9th Cir.
     2022) (Collecting cases and observing “[o]nly a handful of courts have addressed whether a foreign debtor’s
     misconduct or ‘bad faith’ is a proper basis for invoking § 1506 to deny recognition. Those that have done so have
     concluded that misconduct or bad faith, standing alone, is insufficient.”) (citations omitted); In re Creative Fin.,
                                                           19
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 27 of 38




would provide Mr. Romanos with a personal benefit. Additionally, Crédito Real acquiesced to the

Mexican Liquidation Proceeding based on the indisputable fact that it had lost more than two thirds

of its capital stock and was therefore subject to liquidation under the Mexican Corporations Law.81

Had Crédito Real initiated the Mexican Liquidation Proceeding there would have been no alleged

stay violation;82 denying recognition here would be inequitable and inefficient. Indeed, courts

have recognized foreign proceedings filed shortly after involuntary chapter 11 cases where the

debtor’s center of main interest is in the foreign jurisdiction to promote the objectives of

chapter 15.83

         Dismissal of the Chapter 11 Proceeding is Appropriate

         A.        The Court Lacks Jurisdiction Over Crédito Real

         35.       As explained in the Motion to Dismiss, the exercise of general jurisdiction by a

court is appropriate only when a defendant has had “continuous and systematic general business

contacts” with the forum that are of a magnitude and type that make it reasonable to exercise such




     Ltd. (In Liquidation), 543 B.R. 498, 516 (Bankr. S.D.N.Y. 2016) (declining recognition on other grounds but
     observing that section 1506 cannot be invoked by reason of bad faith conduct as bad faith filings in chapter 11
     cases are not to the level of public policy).
81
     Second Estrada Decl. ¶ 9.
82
     See, e.g., Maritime Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991) (“Although the scope of
     the automatic stay is broad, the clear language of section 362(a) indicates that it stays only proceedings against a
     ‘debtor’ – the term is used by the statute itself. The statue does not address actions brought by the debtor which
     would inure to the benefit of the bankruptcy estate.”) (citations omitted) (emphasis in original).
83
     In re Cenargo Int’l, PLC, 294 B.R. 571 (Bankr. S.D.N.Y. 2003) (deferring to English proceedings filed in
     violation of automatic stay where all parties other than U.S. creditors agreed that the English proceeding would
     be the most efficient and effective way to reorganize the company); In re Suntech Power Holdings Co., 520 B.R.
     399 (Bankr. S.D.N.Y. 2014) (granting recognition to provisional liquidation under Cayman law, which was filed
     after involuntary chapter 7 petition); see also In re Bd. of Dirs. of Multicanal S.A., 314 B.R at 491 (dismissing
     involuntary proceeding in favor of recognition under chapter 15’s predecessor statute where it “would not be
     appropriate or feasible to attempt the involuntary reorganization of an Argentine company in a U.S. Chapter 11
     case” where the U.S. case would conflict with, rather than complement, the Argentine insolvency proceeding);
     see also In re Gee, 53 B.R. 891, 904 (Bankr. S.D.N.Y. 1985) (dismissing involuntary chapter 11 proceeding
     where recognition of Cayman liquidation under chapter 15’s predecessor statute would “best assure an economical
     and expeditious administration of the estate”).

                                                           20
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 28 of 38




jurisdiction.84 Here, Crédito Real lacks the “extensive contacts” with the United States warranting

the exercise of general jurisdiction.85 Although the AHG argues otherwise, none of the activities

cited by the AHG are sufficient to confer the general jurisdiction necessary to establish the plenary

powers in a bankruptcy case.

         36.       First, contrary to the AHG’s pleas otherwise,86 the borrowing of money in the U.S.

for capital or operating purposes, is incidental to Crédito Reals’ primary business and does not

amount to a continuous business contact.87 Nor does that jurisdiction exists because Crédito Real

has a bank account in the United States.88 Indeed, the decision the AHG relies on, Official

Committee of Unsecured Creditors of Arcapita v. Bahrain Islamic Bank,89 analyzed whether the

court had specific jurisdiction over a claim related specifically to a U.S. bank account. The court

declined to consider whether the bank account established general jurisdiction.90

         37.       Second, the AHG and the Bozhenko Letter rely on a contractual forum selection

clause to argue that Crédito Real has submitted to this Court’s jurisdiction. Under the documents

governing the New York Notes, Crédito Real did submit to the jurisdiction of the New York courts



84
     Helicópteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 414-16 (1984).
85
     See In re Xacur, 219 B.R. 956, 966 (Bankr. S.D. Tex. 1998) (dismissing involuntary chapter 11 petition where
     jurisdiction over debtor did not exist).
86
     AHG Obj. ¶ 82.
87
     See Nelson v. Mass. Gen. Hosp., 2007 U.S. Dist. LEXIS 70455, at *90 (S.D.N.Y. Sept. 20, 2007) (dismissing
     complaint for lack of personal jurisdiction and stating that “[t]here are numerous cases in which corporations that
     raised capital . . . in New York were not deemed subject to general jurisdiction”). The case cited by the AHG,
     GMAM Investments Funds Trust I v. Globo Comunicacoes E Participacoes S.A. (In re Globo Comunicacoes E
     Participacoes S.A.), 317 B.R. 235, 258 n.16 (S.D.N.Y. 2004) did not make a finding as to jurisdiction, and
     cautioned that “unique nature of an involuntary bankruptcy action” may weigh against finding jurisdiction based
     on the decision to raise capital in the United States.
88
     AHG Obj. ¶ 84.
89
     549 B.R. 56, 70 (S.D.N.Y. 2016) (involving a claim asserted that the bank account was used to fund terrorist
     attacks facilitated by the defendant).
90
     Id. at 63 n.9 (“[f]rom the outset of the adversary proceedings, the Committee acknowledged that the Complaint
     failed to plead a prima facie case with regard to general jurisdiction”).

                                                          21
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55       Filed 09/14/22         Page 29 of 38




with respect to all disputes under the relevant indenture and notes. It did not, however, submit to

a plenary U.S. bankruptcy case that necessarily would involve the reorganization of Crédito Real’s

Mexican assets and operations, impacting all creditors’ rights—including creditors outside of the

United States—as against the debtor with the goal of restructuring Crédito Real’s debt and

rehabilitating its business.91 The AHG cites no authority finding general jurisdiction to adjudicate

an involuntary chapter 11 case involving a foreign debtor on account of a forum selection clause

in a debt document. Instead, it relies on AstroPower Liquidating Trust v. Xantrex Technology, Inc.

(In re AstroPower Liquidating Trust),92 which again concerned whether a bankruptcy court had

specific jurisdiction over a defendant in an adversary proceeding.

         38.       Third, although the AHG argues that jurisdiction exists because Crédito Real has a

subsidiary in the United States, Credito Real USA, Inc.,93 the mere existence of assets within a

forum do not create general jurisdiction.94 Indeed, Crédito Real USA, Inc. and its subsidiaries

collectively accounted for a mere 8% of the Company’s total loan portfolio.95

         39.       Moreover, despite the AHG’s protests, the exercise of personal jurisdiction over

Crédito Real would not be fair or reasonable. In assessing whether jurisdiction exists over an

involuntary chapter 11 debtor, the Xacur court considered “the burden on the defendant, the

forum’s interest in adjudicating the dispute, the plaintiff’s interest in obtaining convenient and



91
     See Equity Broad. Corp. v. Shubert (In re Winstar Comm’ns), 284 B.R. 40, 43-4, 52 (Bankr. D. Del. 2002) (finding
     that party did not consent to bankruptcy court jurisdiction by entering into purchase agreement and release
     agreement with a jurisdictional provision for any “proceeding or claim brought by any other party pursuant to this
     Agreement” that “omits any reference to Bankruptcy Court jurisdiction”).
92
     335 B.R. 309 (Bankr. D. Del. 2005).
93
     The Bozhenko Letter makes a similar point, seeking to draw attention to the company’s operations outside of
     Mexico “including in the United States, Costa Rica, Honduras, Nicaragua and Panama.”
94
     See In re Xacur, 219 B.R. at 966 (dismissing involuntary petition and finding that the exercise of jurisdiction
     would be unfair and ineffective where most of debtor’s assets were in Mexico).
95
     Motion to Dismiss ¶ 13; Declaration of Robert Wagstaff [Case No. 22-10842 (DSJ), Docket No. 7] ¶ 19.

                                                          22
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55      Filed 09/14/22        Page 30 of 38




effective relief, and the procedural and substantive policies of other nations whose interests are

affected by the assertion of jurisdiction.”96          Each of these factors suggests that the exercise of

personal jurisdiction here would be neither fair nor reasonable.

                   i.   The Exercise of Jurisdiction Would Impose an Unfair Burden on Crédito Real

          40.       The AHG argues that the exercise of jurisdiction in this case would not impose an

unfair burden because “Crédito Real’s legal counsel is based in the United States and regularly

appears on behalf of clients in chapter 11 proceedings before this Court.”97 Under that theory, no

involuntary chapter 11 case could ever impose an unfair burden. The AHG further argues that

travel from Mexico to Delaware is not “overly difficult” and notes the increased use of virtual

proceedings resulting from the COVID-19 pandemic.98 Again, the suggestion that the mere

existence of air travel and Zoom meetings alleviates all burden is unpersuasive. To the contrary,

the burden on Crédito Real here is significant, as all of the personnel who would be required to

participate in the involuntary chapter 11 case are located in Mexico.99 The AHG ignores the

substantial body of authority finding that the unique burden placed upon one who must defend

oneself in a foreign legal system should have significant weight in assessing the reasonableness of

extending personal jurisdiction.100

          41.       In its argument that the Involuntary Case would not be burdensome, the AHG also

repeats its unfounded attacks on the Mexican Liquidation Proceeding,101 each of which were


96
      In re Xacur, 219 B.R. at 967-68.
97
      AHG Obj. ¶ 89.
98
      Id. ¶ 90.
99
      Declaration of Robert Wagstaff [Case No. 22-10842 (DSJ), Docket No. 7] ¶¶ 15-16.
100
      See Asahi Metal Indus. Co. v. Superior Court of Cal., 480 U.S. 102, 114 (1987) (“The unique burden placed upon
      one who must defend oneself in a foreign legal system should have significant weight in assessing the
      reasonableness of stretching long arm personal jurisdiction over national borders.”).
101
      AHG Obj. ¶ 92.

                                                         23
RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55       Filed 09/14/22        Page 31 of 38




rebutted above.102 Given that Crédito Real already is liquidating under Mexican law in the

Mexican Liquidation Proceeding (and seeking recognition of the Chapter 15 Case), proceeding

with this Involuntary Case in the United States would only needlessly dissipate estate assets.103

                 ii.    The U.S. Lacks a Strong Interest in Crédito Real’s Restructuring

          42.      The U.S. has no real interest in presiding over this restructuring, as Crédito Real

has limited assets in the United States, and does not have any operations, employees or

representatives in the United States. The AHG does not contend otherwise, and only focuses on

alleged harm to creditors in the United States104 ⸺ ignoring the substantial number of Crédito

Real’s creditors located outside of the U.S.105 The AHG itself only represents a fraction of

bondholders (under 17% of the bonds),106 and an even smaller fraction of all creditors of Crédito

Real. Unable to establish a strong U.S. interest in the restructuring of Crédito Real and ignoring

the U.S. courts’ long history of respecting foreign insolvency proceedings,107 the AHG instead

repeats its litany of unfounded attacks on the Mexican Liquidation Proceeding.108

                iii.    The Involuntary Case Will Not Further Creditors’ Interests in Obtaining
                        Convenient and Effective Relief

          43.      With no operations and limited assets in the U.S., there is no prospect for a

successful reorganization of Crédito Real in this forum, especially given the strong likelihood that


102
      Supra ¶¶ 14, 16, 17-21, 32.
103
      See In re Bd. of Dirs. of Multicanal S.A., 314 B.R 486, 522 (Bankr. S.D.N.Y. 2004) (noting that a “central
      purpose” of the modified universality approach of the Bankruptcy Code is to avoid the waste and inefficiency of
      multiple proceedings).
104
      AHG Obj. ¶ 93.
105
      Verified Petition ¶ 23 (noting that the vast majority of the Putative Debtors’ 300 trade creditors are located in
      Mexico).
106
      See Verified Statement Pursuant to Bankruptcy Rule 2019 [Docket No. 22-10696 (JTD), Docket No. 27].
107
      See, e.g., Multicanal, 314 B.R. at 501, 521 (“U.S. courts have recognized that foreign courts have an interest in
      presiding over the insolvency proceedings of their own domestic business entities to promote the systematic
      distribution of a debtor’s assets”).
108
      AHG Obj. ¶ 94.

                                                          24
RLF1 27942059v.1
                    Case 22-10630-JTD            Doc 55       Filed 09/14/22         Page 32 of 38




the Mexican Court will not give effect to orders of this Court.109 Without the cooperation of the

Mexican Court, which has already asserted exclusive jurisdiction over Crédito Real’s estate, and

which can exercise in rem jurisdiction over most of the Company’s assets, any attempt by this

Court to restructure Crédito Real’s business would be futile.110 In response, the AHG again

incorrectly argues that the Mexican Liquidation Proceeding is insufficient because it deprives the

AHG of notice and an opportunity to be heard.111 But the AHG is simply ignoring the issue of

enforceability. Regardless of the AHG’s provincial complaints about due process (which are

wrong — Supra ¶¶ 14, 16, 17-21, 32), the AHG does not explain how it will obtain convenient and

effective relief without the cooperation of the Mexican Court. The AHG cannot square its desire

to impose an involuntary U.S. chapter 11 case on Crédito Real with the obvious practical reality

of the situation.

                   iv.   Mexico Does Not Have an Interest in a Conflicting Proceeding in the U.S.

          44.        The AHG launches parochial attacks on the Mexican Liquidation Proceeding by

claiming that Mexican interests would be best served by a court in the U.S. assuming

jurisdiction.112 The AHG claims that “Mexico has an interest in preserving actual and perceived

fairness of its own legal system” and suggests that the involuntary chapter 11 case is the solution.113

To the contrary, if any unfairness arises during the course of the Mexican Liquidation Proceeding,

it is for a Mexican court to address. The AHG effectively concedes as much, noting two pending


109
      Third Estrada Decl. ¶ 37.
110
      Cf. Multicanal S.A., 314 B.R. at 521 (in dismissing the U.S. case under section 305, the court found that concurrent
      proceedings in Argentina and the United States would “hinder rather than advance an equitable distribution,”
      noting that “a concurrent U.S. case would be deemed to conflict with, rather than complement [Argentine law],
      and that it would receive no recognition in Multicanal’s home country . . . to the extent it purported to administer
      asserts in Argentina.”).
111
      AHG Obj. ¶ 96.
112
      Id. ¶ 98.
113
      Id. ¶ 100.

                                                            25
RLF1 27942059v.1
                   Case 22-10630-JTD      Doc 55     Filed 09/14/22      Page 33 of 38




actions challenging the Mexican Liquidation Proceeding.114 Rather than assume that Mexican

courts are incapable of establishing a fair process for the liquidation of a Mexican corporation, the

Court should instead defer to the Mexican courts’ resolutions of those appeals.

          B.       The AHG Has Failed to Prove Standing to File the Involuntary Case

          45.      Section 303 of the Bankruptcy Code sets forth the minimum number of creditors

required to commence an involuntary case and contains restrictions as to which types of creditors

may commence an involuntary bankruptcy case. Among other things, Section 303(b)(1) provides

that an involuntary case may be commenced:

          by three or more entities, each of which is either a holder of a claim against such
          person that is not contingent as to liability or the subject of a bona fide dispute as
          to liability or amount, or an indenture trustee representing such a holder, if such
          noncontingent, undisputed claims aggregate at least $15,775 more than the value
          of any lien on property of the debtor securing such claims held by the holders of
          such claims.

          46.      In its Objection, the AHG does not dispute that it is their burden to establish

eligibility under section 303(b) of the Bankruptcy Code. Yet two of the three AHG petitioners ⸺

Institutional Multiple Investment Fund LLC and VP Fund Solutions (Liechtenstein) AG ⸺ have

not provided appropriate evidence of their holdings. They either did not have such evidence, or

ostensibly elected not to provide it when they filed the Involuntary Case.

          47.      The AHG also argues that a declaration attaching account statements is sufficient

evidence of the beneficial ownership of a bond.115            While tacitly acknowledging that the

declarations attached to the involuntary petition did not satisfy this standard, the AHG belatedly

attempts to cure the defective evidence for one of the two bondholders, Institutional Multiple




114
      Id. ¶ 101.
115
      Id. ¶ 105.

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RLF1 27942059v.1
                   Case 22-10630-JTD             Doc 55       Filed 09/14/22         Page 34 of 38




Investment Fund LLC, by now providing account statements.116 Even with that additional

statement, the AHG has still failed to establish that the Involuntary Case was filed by “three or

more entities.” The second purported bondholder, VP Fund Solutions (Liechtenstein) AG, failed

to provide a declaration with a supporting account statement; its only evidence is a letter from a

Liechtenstein bank to “Solitaire Global Bond Fund” purporting to confirm bond holdings. Not

only is the letter not an account statement, but the name of the addressee on the letter differs from

the name of the entity listed on the involuntary petition, “Solitaire Fund,” that is purportedly

managed by VP Fund Solutions (Liechtenstein) AG. Thus, the AHG has failed to meet its

evidentiary burden under section 303(b).

          C.        The Court Should Exercise its Discretion to Dismiss the Involuntary Case
                    under Section 305(a)(1) of the Bankruptcy Code

          48.       Should the Court find that it does have jurisdiction and the AHG has standing, the

Court should nevertheless dismiss the Involuntary Case in the exercise of its discretion because

the interests of Crédito Real and its creditors will be better served by dismissal.117 Indeed, the

AHG concedes that deference to a foreign court is appropriate where — as here — the foreign

proceedings are procedurally fair and do not contravene the laws or public policy of the U.S.118

                   i.   The Mexican Liquidation Proceeding Offers a More Appropriate Forum to
                        Protect the Interests of the Parties

          49.       Although the AHG argues that the Mexican Liquidation Proceeding “fails to

adequately protect the interests of [Crédito Real’s] creditors,”119 as explained above, the Mexican

Liquidation Proceeding affords ample due process to all creditors and parties in interest.


116
      Id. ¶ 107.
117
      See 11 U.S.C. § 305(a)(1) (“The court, after notice and a hearing, may dismiss a case under this title, at any time
      if . . . the interests of creditors and the debtor would be better served by such dismissal.”).
118
      AHG Obj. ¶ 28.
119
      Id. ¶ 67.

                                                           27
RLF1 27942059v.1
                   Case 22-10630-JTD           Doc 55       Filed 09/14/22       Page 35 of 38




Supra ¶¶ 14, 16, 17-21, 32. Also as explained above, and contrary to the AHG’s arguments,120

the Mexican Liquidation Proceeding was commenced by reason of Crédito Real’s insolvency and

is pending under a law related to insolvency. Supra ¶¶ 22-27. Finally, the AHG’s suggestion that

the Mexican Liquidation Proceeding was not foreseeable is unpersuasive.121                          The offering

memoranda for the New York Notes clearly stated that Crédito Real is “incorporated in Mexico,

and most of our assets and operations are located in Mexico. As a result we are subject to political,
                                                                         122
economic, legal and regulatory risks specific to Mexico.”                      The offering memoranda even

acknowledged that Crédito Real may be liquidated pursuant to applicable Mexican law.123

                  ii.   The Involuntary Case Would Be Administratively Inefficient

          50.       The AHG also claims that the Involuntary Case would not be administratively

inefficient. But the vast majority of parties interested in Crédito Real’s liquidation are in Mexico.

Requiring the parties in interest to appear in this Court, whether remotely or otherwise, would be

administratively inefficient. Additionally, without the support of evidence or logic, the AHG

suggests that Mexican courts will enforce the orders of this Court, and ignore their own.124 The

best the AHG can muster is a weak attempt to distinguish Multicanal on the basis that the Mexican

Liquidation Proceeding is less developed than the Argentine law in that case. But the Multicanal

court based its decision not on the perceived quality of the foreign insolvency regime, but largely

on “[t]he inability of [that] Court to force the rehabilitation of this debtor over its objection.”125 .


120
      Id. ¶ 68.
121
      Id. ¶ 70.
122
      Offering       Memorandum          for     8%      Senior      Notes      due     2028,       available     at
      http://cdn.investorcloud.net/creal/InformacionFinanciera/Prospectos/Notas-2028.pdf at 50, 52.
123
      Id. at 52 (describing Putative Debtor’s payment obligations where “the Issuer is actually declared bankrupt or
      dissolved or put into liquidation for purposes of Mexican law”).
124
      AHG Obj. ¶ 72.
125
      Multicanal, S.A., 314 B.R. at 523.

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RLF1 27942059v.1
                   Case 22-10630-JTD            Doc 55      Filed 09/14/22         Page 36 of 38




Many other courts have reached similar conclusions.126

                iii.   The Involuntary Case Lacks a Legitimate Bankruptcy Purpose

          51.      As explained in the Motion to Dismiss, the AHG has commenced this Involuntary

Case as a negotiation tactic rather than for purposes of reorganizing the debtor, which weighs in

favor of dismissal.127 In response, the AHG admits that it filed the Involuntary Case in response

to the actions of Crédito Real in connection with the parties’ negotiations.128                       Accordingly,

dismissal of this proceeding is appropriate for lack of a true restructuring purpose.

          D.       The Court Should Dismiss the Involuntary Case Under Section 1112(b)

          52.      The same reasons that support dismissal under section 305(a)(1) also support

dismissal for cause under section 1112(b) of the Bankruptcy Code.129 Most of Crédito Real’s

assets and businesses are located in Mexico. This Court is not uniquely qualified to resolve the

issues the Involuntary Case would present, and it is unclear whether the Court’s orders would be

enforced in Mexico even if the Involuntary Case continued. Nor is there any evidence that the

Involuntary Case would be in the “best interest of creditors and the estate” under section 1112(b)

given the proceeding underway in Mexico. Accordingly, dismissal under section 1112(b) is

appropriate. The AHG’s only response to these facts is to again attack and mischaracterize the

nature of the Mexican Liquidation Proceeding.130 Notwithstanding the AHG’s contentions (all of

which are refuted herein), the Mexican Liquidation Proceeding is the most appropriate forum for



126
      Motion to Dismiss ¶ 56.
127
      In re Compania de Alimentos Fargo, S.A., 376 B.R. 427, 440 (Bankr. S.D.N.Y. 2007) (finding a petition was filed
      for an improper purpose where the parallel chapter 11 case would “hijack” the foreign proceeding in an effort to
      “increase [petitioners’] leverage in any negotiations.”).
128
      AHG Obj. ¶ 74.
129
      See In re Yukos Oil Co., 321 B.R. 396, 407 (Bankr. S.D. Tex. 2005) (noting that both section 305 and section
      1112 provided the “procedural mechanisms” for dismissal).
130
      AHG Obj. ¶ 75.

                                                          29
RLF1 27942059v.1
                   Case 22-10630-JTD        Doc 55     Filed 09/14/22     Page 37 of 38




the liquidation of Crédito Real. Accordingly, dismissal under section 1112(b) is appropriate.

          E.       The Court Should Dismiss the Involuntary Case Under Section 305(a)(2) of
                   the Bankruptcy Code

          53.      Section 305(a)(2) of the Bankruptcy Code provides as follows:

                       (a) The court, after notice and a hearing, may dismiss a case under this
                       title, or may suspend all proceedings in a case under this title, at any
                       time if . . .
                            (2) (A) a petition under section 1515 for recognition of a foreign
                                proceeding has been granted; and
                                (B) the purposes of chapter 15 of this title would be best served
                                by such dismissal or suspension.

                   11 U.S.C. § 305(a)(2).

          54.      As set forth in the Motion to Dismiss,131 if this Court grants the Verified Petition

recognizing the Mexican Liquidation Proceeding, the Court should dismiss the Involuntary Case

because doing so would best serve the purposes of chapter 15.

                                             CONCLUSION

          55.      For the reasons set forth herein the Court should overrule the Objection and grant

the Verified Petition and the Motion to Dismiss.

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131
      Motion to Dismiss ¶ 59.

                                                     30
RLF1 27942059v.1
                   Case 22-10630-JTD   Doc 55   Filed 09/14/22   Page 38 of 38




  Dated: September 14, 2022
  Respectfully submitted,


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RLF1 27942059v.1                                   31
